                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION - BAY CITY

IN RE:

          HENRY G. STRONG, JR.,                                   Case No. 12-21523-dob
                                                                  Chapter 7 Proceeding
            Debtor.                                               Hon. Daniel S. Opperman
_____________________________________/

                               Opinion Regarding Motion to Avoid Lien

          The Debtor, Henry G. Strong, Jr., seeks to avoid a lien of Reliable Auto Finance (“Reliable”)

on his 2011 income tax refund. Reliable is a judgment creditor of the Debtor and served a writ of

garnishment on the State of Michigan on December 2, 2011. The Debtor filed bankruptcy on May

7, 2012, and now seeks the return of his 2011 income tax refund.

                                          Statement of Jurisdiction

          This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate); (E) (orders to turn over property of the estate); and (K)

(determinations of the validity, extent, or priority of liens).

          All issues before the Court arise out of Title 11 of the United States Code and, therefore, do

not involve limitations on this Court’s jurisdiction as set forth in Stern v. Marshall, 131 S. Ct. 2594

(2011).

                                             Applicable Statute

          11 U.S.C. § 522(f)(1) states:

                  Notwithstanding any waiver of exemptions but subject to paragraph (3), the
          debtor may avoid the fixing of a lien on an interest of the debtor in property to the
          extent that such lien impairs an exemption to which the debtor would have been
          entitled under subsection (b) of this section, if such lien is —


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                (A) a judicial lien, other than a judicial lien that secures a debt of a kind that
        is specified in section 523(a)(5);

                                               Analysis

       The Debtor argues that Section 522 allows him to avoid the lien created when the writ of

garnishment was served on the State of Michigan. Per Bleau v. First of Am. Bank-Central (In re

Arnold), 132 B.R. 13, 14-15 (Bankr. E.D. Mich. 1991)(J. Spector), the lien of Reliable was perfected

when the writ of garnishment was served. Applied to these facts, it is undisputed that the Debtor

would have the right to exempt the 2011 state income tax refund, but for the writ of garnishment

served by Reliable on the State of Michigan. In response, Reliable cites the case of Farrey v.

Sanderfoot, 500 U.S. 291 (1991) which holds that a debtor cannot avoid a lien such as the one created

here if the debtor did not have an interest in the property prior to the lien being created. Reliable

argues that since the 2011 tax refund could not have been known until the end of 2011, that is

December 31, 2011, and possibly much later once the Debtor’s tax return is actually filed, then the

Farrey decision requires this Court to hold that the Debtor cannot avoid Reliable’s lien.

       The impact of Farrey in this case is unclear. A number of authorities, including Colliers, has

criticized the Farrey decision and urge that it be limited to domestic support obligations only.

Moreover, certain courts have not followed the extension of Farrey beyond domestic support matters,

such as the courts in In re Garcia, 155 B.R. 173 (E.D. Ill. 1993) and General Motors Acceptance

Corporation v. Bates (In re Bates), 161 B.R. 965 (N.D. Ill. 1993). The Second Circuit, however, in

In re Marine Midland Bank v. Scarpino (In re Scarpino), 113 F.3d 338 (2nd Cir. 1997) has held that

after acquired property to which a previously recorded judgment lien attached is not subject to

avoidance under Section 522(f)(1).

       Complicating the analysis is the nature of the property in issue, that is tax refunds. As decided


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by the District Court for the Eastern District of Michigan in In re Araj, 371 B.R. 240 (E.D. Mich.

2007), District Judge Battani held that tax refunds are accrued over the course of a year and not

merely at the occurrence of a single event, that is the end of the year itself. As the Araj court held,

tax refunds are to be prorated. This Court has used Araj as a basis for determining other issues

involving tax refunds, namely the determination of what property is property of the estate and the

ability of the Debtor to exempt that property.

       Applying these principles to this case, the Court holds that the tax refunds in question were

accrued and, therefore, are property of the Debtor as mandated by Araj. To the extent that 11 U.S.C.

§ 522 allows the Debtor to avoid this lien, then the Court will apply the date that the lien attached,

namely December 2, 2011, as the appropriate date. On December 2, 2011, therefore, a portion of the

Debtor’s tax refund accrued and the Debtor had an interest in the prorated amount. Farrey does not

apply to this portion of the Debtor’s tax refund and the Debtor may avoid this lien. To the extent

Farrey does apply, the maximum amount that may not be avoided by the Debtor is that refund earned

after December 2, 2011. For ease of calculation, the Court would urge that the parties consider the

that 11/12 of the $1,666.00 refund to have been earned by the Debtor and, therefore, subject to

avoidance with the remainder being acquired after Reliable filed its lien and not avoidable by the

Debtor.

       Counsel for the Debtor may prepare an order consistent with this Opinion.

       Not for publication.
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Signed on December 21, 2012
                                                           /s/ Daniel S. Opperman
                                                         Daniel S. Opperman
                                                         United States Bankruptcy Judge




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